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 6
                              UNITED STATES DISTRICT COURT
 7
                                   DISTRICT OF NEVADA
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 9   SOUTHPORT LANE EQUITY II, LLC,                      Case No.: 3:15-CV-00335-RCJ-VPC
     et al.,
10
                          Plaintiff,
11                                                       ORDER OF DISMISSAL WITHOUT
            vs.                                          PREJUDICE PURSUANT TO FRCP 4(m)
12
     RON DOWNEY, et al.,
13
                          Defendants.
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15          The Court filed the Notice of Intention to Dismiss Pursuant to FRCP 4(m) (#54) on
16   January 15, 2016. Plaintiff was ordered to provide the court with proof of service as to the
17   following parties: DEREK ELLIS and DOMINIC DE LORENZO on or before February 14,
18   2016. Plaintiff has not complied with the Notice (#54) within the allotted time.
19          “Before dismissing the action, the district court is required to weigh several factors: (1)
20   the public’s interest in expeditious resolution of litigation; (2) the court’s need to manage its
21   docket; (3) the risk of prejudice to the defendants; (4) the public policy favoring disposition
22   of cases on their merits; and (5) the availability of less drastic sanctions.” Ghazali v. Moran,
23   46 F.3d 52, 53 (9th Cir. 1995) (internal citations and quotations omitted). All five factors point
24   in favor of dismissal.
25          Plaintiffs have failed to show good cause why this action should not be dismissed
26   without prejudice for failure to file proof of proper service with this Court pursuant to FRCP
27   4(m) and failure to comply with the Notice of Intention to Dismiss (#54).
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 1         IT THEREFORE ORDERED that this action is DISMISSED without prejudice as to
 2   Defendant: DEREK ELLIS and DOMINIC DE LORENZO for Plaintiffs failure to comply with
 3   the Court’s Notice of Intention to Dismiss pursuant to FRCP 4(m) (#54).
 4         IT IS SO ORDERED this 16th day of February, 2016.
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 8                                                    ROBERT C. JONES
                                                      United States District Judge
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